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                 W ILLIAM SPO RT D IV ISIO N


 William C. Toth Jr.; William J.
 Hall; James Bognet; Alan M.
 Hall,

                      Plaintiffs,

 v.

 Lehigh M. Chapman, in her                   Case No. _______________
 official capacity as Acting
 Secretary of the Commonwealth;
 Jessica Mathis, in her official
 capacity as Director for the
 Pennsylvania Bureau of Election
 Services and Notaries; Tom
 Wolf, in his official capacity as
 Governor of Pennsylvania,

                      Defendants


                                    COMPLAINT
      The state of Pennsylvania lost a congressional seat in the most recent de-

cennial census. The Pennsylvania legislature must therefore draw a new con-

gressional map for the 2022 elections. Under the U.S. Constitution, the “leg-

islature” in each state is charged with prescribing the “times, places, and man-

ner” of electing Senators and Representatives, although Congress may enact

laws to “make or alter such regulations.” See U.S. Const. art. I, § 4, cl. 1 (“The




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Times, Places and Manner of holding Elections for Senators and Representa-

tives, shall be prescribed in each State by the Legislature thereof; but the Con-

gress may at any time by Law make or alter such Regulations.”). That means

the state legislature must either enact a new congressional map or delegate its

map-creation authority to another institution. See, e.g., Arizona State Legisla-

ture v. Arizona Independent Redistricting Commission, 576 U.S. 787 (2015).

    The Pennsylvania legislature, however, has not yet enacted a congressional

map for the 2022 elections. Although the General Assembly passed a new con-

gressional map earlier this year, it was vetoed by Governor Wolf. See Smiley v.

Holm, 285 U.S. 355 (1932) (redistricting legislation that is vetoed by the gov-

ernor is not “prescribed . . . by the Legislature” within the meaning of the

Elections Clause). In the meantime, a group of litigants has repaired to state

court in the hopes of inducing the Supreme Court of Pennsylvania to impose

a congressional map for the 2022 elections—and the state supreme court has

scheduled oral arguments on this matter for February 18, 2022. But any map

imposed by the state supreme court would be flatly unconstitutional. The

Elections Clause says that “the Legislature”—not the judiciary—must “pre-

scribe” the manner of electing representatives, and the General Assembly has

not authorized the state judiciary to draw congressional maps or participate in

the redistricting process in any way. The state judiciary must therefore wait

for the General Assembly to act. And any attempt by the state judiciary to

usurp the legislature’s constitutionally assigned role must be disregarded by




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state officials, who are compelled to honor the Elections Clause over any con-

trary edicts that might emanate from a state court.

    If the General Assembly fails to enact a new congressional map in time for

the 2022 elections, then the remedy is set forth in 2 U.S.C. § 2a(c): The state’s

congressional delegation shall be elected at-large:

      Until a State is redistricted in the manner provided by the law
      thereof after any apportionment, the Representatives to which
      such State is entitled under such apportionment shall be elected
      in the following manner: . . . (5) if there is a decrease in the num-
      ber of Representatives and the number of districts in such State
      exceeds such decreased number of Representatives, they shall be
      elected from the State at large.
2 U.S.C. § 2a(c). The Elections Clause requires state officials to implement
this congressional instruction if the General Assembly fails to enact a new con-

gressional map in time for the 2022 elections. Congress, in enacting 2 U.S.C.

§ 2a(c)(5), has “ma[de] . . . Regulations” that govern the election of represent-
atives pursuant to its authority under the Elections Clause, and state election

officials are constitutionally obligated to follow this congressional command

over any contrary instructions that might appear in a state-court ruling.
    The notion that the Supreme Court of Pennsylvania can replace the

fallback regime that Congress has established in 2 U.S.C. § 2a(c)(5) with a con-

gressional map of its own creation violates the Constitution in at least two re-
spects. First, it usurps the authority that the Elections Clause assigns to the

state legislature, because the Elections Clause gives “the Legislature” and not

the judiciary the power to “prescribe” the manner of electing representatives.



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Second, it usurps the authority that the Elections Clause confers upon Con-

gress, because Congress has enacted a statute requiring Pennsylvania’s repre-

sentatives to be elected at large if the General Assembly fails to enact a map in

time for the 2022 elections. The Court should therefore enter declaratory and

injunctive relief that compels the defendants to hold at-large elections for the

2022 Pennsylvania congressional delegation, notwithstanding any ruling that

might issue from the Supreme Court of Pennsylvania, unless and until the

General Assembly enacts a new congressional map.

                     JURISDICTION AND VENUE
   1. The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28

U.S.C. § 1343, and 28 U.S.C. § 1367.

   2. Venue is proper in this district and division because a substantial portion

of the events or omissions giving rise to the present claim occurred in this dis-

trict and division. See 28 U.S.C. § 1391(b)(2).

   3. The plaintiffs request a three-judge panel under 28 U.S.C. § 2284(a)

because this action is challenging to the constitutionality of the apportionment

of congressional districts.

                                  PARTIES

   4. Plaintiff William C. Toth Jr. is a resident of Columbia County and a reg-

istered voter in Pennsylvania.
   5. Plaintiff William J. Hall is a resident of Lycoming County and a regis-

tered voter in Pennsylvania.




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   6. Plaintiff Jim Bognet is a resident of Luzerne County and a Republican

candidate for Congress. He is also a registered voter in Pennsylvania.

   7. Plaintiff Alan M. Hall is resident of Susquehanna County and a member

of the Susquehanna Board of Elections. He is also a registered voter in Penn-

sylvania.

   8. Defendant Lehigh M. Chapman is Acting Secretary of the Common-

wealth of Pennsylvania. She may be served at 302 North Office Building, 401

North Street Harrisburg, Pennsylvania 17120. Acting Secretary Chapman is

sued in her official capacity.

   9.   Defendant Jessica Mathis is Director for the Pennsylvania Bureau of

Election Services and Notaries. She may be served at 210 North Office Build-

ing, 401 North Street Harrisburg, Pennsylvania 17120. Director Mathis is sued

in her official capacity.

   10. Defendant Tom Wolf is the governor of Pennsylvania. He may be

served at the Office of the Governor, 508 Main Capitol Building, Harrisburg,
Pennsylvania 17120. Governor Wolf is sued in his official capacity.

                                  FACTS
   11. Before the 2020 census, the state of Pennsylvania had 18 seats in the

U.S. House of Representatives.

   12. The results of the 2020 census left Pennsylvania with 17 seats in the
U.S. House of Representatives, one less than before. See U.S. Dept. of Com-

merce, Table 1. Apportionment Population and Number of Representatives by

State: 2020 Census.


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   13. Under the Elections Clause of the U.S. Constitution, “the Legisla-

ture” of Pennsylvania must prescribe the “manner” by which its representa-

tives are elected, while Congress “may at any time by Law make or alter such

Regulations.” U.S. Const. art. I, § 4, cl. 1; see also id. (“The Times, Places and

Manner of holding Elections for Senators and Representatives, shall be pre-

scribed in each State by the Legislature thereof; but the Congress may at any

time by Law make or alter such Regulations.”). The powers conferred by the

Elections Clause include the prerogative to draw a new congressional map in

response to the decennial census.

   14. On August 20, 2021, the census-block results of the 2020 Census were

delivered to Governor Wolf and the leaders of the General Assembly, which

allowed the legislature to begin the process of drawing a new congressional

map.

   15. On December 15, 2021, the House State Government Committee ap-

proved a new congressional map (HB 2541), in a 14-11 vote. The General As-

sembly eventually passed HB 2541, but it was vetoed by Governor Wolf on

January 26, 2022.

   16. On December 17, 2021, eighteen voters filed a lawsuit in the Common-

wealth Court of Pennsylvania, asking the state judiciary to impose a map for

the 2022 congressional elections. See Exhibit 1. Later that day, a separate group

of twelve voters filed a similar lawsuit in the Commonwealth Court.




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   17. The Commonwealth Court of Pennsylvania is the court of original ju-

risdiction for lawsuits involving the state and its officials. It has a 6-3 Republi-

can majority.

   18. The Commonwealth Court consolidated the two redistricting cases on

December, 20, 2021, and the cases were assigned to Judge Patricia

McCullough, a Republican.

   19. On December 21, 2021, the petitioners in those cases filed an applica-

tion for extraordinary relief in the Supreme Court of Pennsylvania, asking the

state supreme court to exercise extraordinary jurisdiction over the case. See

Exhibit 2.

   20. The Supreme Court of Pennsylvania has a 5-2 Democratic majority.

   21. On January 10, 2022, the state supreme court declined to invoke its

extraordinary jurisdiction and denied the application for extraordinary relief

without prejudice. See Exhibit 3.

   22. On January 14, 2022, Judge McCullough ordered all parties and inter-

venors to submit proposed maps and expert reports by January 24, 2022. Judge

McCullough also scheduled an evidentiary hearing for January 27 and 28,

2022, and announced that if the General Assembly “has not produced a new

congressional map by January 30, 2022, the Court shall proceed to issue an

opinion based on the hearing and evidence presented by the Parties.” See Ex-

hibit 4.

   23. On January 26, 2022, Governor Wolf vetoed HB 2541, a congressional

map that had been approved by the General Assembly.


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   24. On January 27 and 28, 2022, Judge McCullough presided over the ev-

identiary hearings that had been scheduled in her order of January 14, 2022.

   25. On January 29, 2022, the petitioners in the state redistricting lawsuit

filed a new “emergency application” with the Supreme Court of Pennsylvania,

asking the state supreme court to immediately exercise “extraordinary juris-

diction” and take over the redistricting litigation from Judge McCullough. See

Exhibit 5.

   26. On February 1, 2022, Judge McCullough announced that her ruling in

the redistricting cases will issue no later than February 4, 2022.

   27. On February 2, 2022, before Judge McCullough had issued her ruling,

the Pennsylvania Supreme Court granted the application to exercise extraor-

dinary jurisdiction in a 5-2 party-line vote.

   28. The state supreme court’s order designated Judge McCullough to

serve as a “Special Master,” and instructed her to file with the Supreme Court

of Pennsylvania, on or before February 7, 2022, “a report containing proposed

findings of fact and conclusions of law supporting her recommendation of a

redistricting plan from those submitted to the Special Master, along with a

proposed revision to the 2022 election schedule/calendar.” See Exhibit 6.

   29. Justice Mundy and Justice Brobson dissented from the state supreme

court’s order granting extraordinary relief and exercising extraordinary juris-

diction.




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   30. On February 7, 2022, Judge McCullough issued her findings and rec-

ommended that the map approved by the General Assembly (HB 2541) be

used as the congressional map. See Exhibit 7.

   31. The state supreme court has allowed any party or intervenor to file

exceptions to Judge McCullough’s findings by February 14, 2022, and the

state supreme court has scheduled oral argument for February 18, 2022.

   32. On February 9, 2022, the state supreme court issued an order sua

sponte that purports to “suspend” the General Primary Election calendar cod-

ified in 25 Pa. Stat. §§ 2868 and 2873. See Exhibit 8. No litigant had asked the

state supreme court to suspend the primary-election calendar or issue an order

purporting to do so.

               PENNSYLVANIA’S ELECTION LAWS
   33. A candidate who wishes to appear on the primary ballot in Pennsylva-

nia must file a nomination petition signed by members of his party who are

registered voters. See 25 Pa. Stat. §§ 2867.

   34. Candidates for the U.S. House of Representatives in Pennsylvania

must obtain 1,000 signatures from registered voters in the Commonwealth at

large. See 25 Pa. Stat. §§ 2872.1(12).

   35. The statutes governing Pennsylvania elections provide that the first

day that candidates may begin circulating nominating petitions is February 15,
2022. The final day to obtain signatures is March 8, 2022.

   36. The statutes governing Pennsylvania elections require the state’s pri-

mary elections to be held on May 17, 2022.


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                  FACTS RELATED TO STANDING
   37. Each of the four plaintiffs is a registered voter in Pennsylvania, and

each of them is suffering injury in fact from the defendants’ refusal to hold at-

large elections for the state’s congressional delegation. Under 2 U.S.C.

§ 2a(c)(5), the plaintiffs are entitled to cast ballots for all 17 of the state’s rep-

resentatives in the U.S. House if the General Assembly fails to enact a new

congressional map in time for the 2022 elections. The defendants are depriv-

ing each of the plaintiffs of their entitlement to vote in all 17 congressional

races by refusing to hold at-large elections as required by 2 U.S.C. § 2a(c)(5).

This injury is traceable to the allegedly unlawful conduct of the named defend-

ants. And it will be redressed by an injunction requiring the defendants to con-

duct at-large elections for Pennsylvania’s congressional delegation unless and

until the General Assembly enacts a new congressional map.

   38. Plaintiff Bognet is suffering additional injury in fact because the de-

fendants’ refusal to honor 2 U.S.C. § 2a(c)(5) leaves him uncertain of how he

should campaign for a seat in the U.S. House of Representatives. The primary

election is only three months away, and the defendants are leaving Mr. Bognet

(and every other candidate for the U.S. House) in the dark about how who their

constituents and voters will be. A candidate for office needs to know how and

where he will campaign, and the defendants’ behavior is perpetuating and pro-

longing this uncertainty. This injury is traceable to the allegedly unlawful con-
duct of the named defendants. And it will be redressed by an injunction requir-




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ing the defendants to conduct at-large elections for Pennsylvania’s congres-

sional delegation, as required by 2 U.S.C. § 2a(c)(5), unless and until the Gen-

eral Assembly enacts a new congressional map.

   39. Plaintiff Alan M. Hall is suffering additional injury in fact in his capac-

ity as a member of the Susquehanna County Board of Elections. As a member

of the Board of Elections, Mr. Hall must oversee the lawful administration of

all aspects of elections, including voter registration, the voting process, and

tabulation of votes. He must also certify the results of all primary and general

elections in the county to the Secretary of State. See 25 Pa. Stat. Ann.

§ 2642(k); 25 Pa. Stat. Ann. § 3154(a). He must issue rules and regulations

that the Board deems necessary for the administration of elections. See 25 Pa.

Stat. § 2642(f ). And he must ensure that elections are “honestly, efficiently,

and uniformly conducted.” 25 Pa. Stat. § 2642(g). Mr. Hall cannot prepare for

the upcoming primary when the defendants refuse to implement the require-

ments of 2 U.S.C. § 2a(c)(5) and leave election officials uncertain about

whether and when a congressional map will be imposed, or what the fallback

regime will be if the General Assembly is unable to enact a map in time for the

primary election. This injury is traceable to the allegedly unlawful conduct of

the named defendants. And it will be redressed by an injunction requiring the

defendants to conduct at-large elections for Pennsylvania’s congressional del-

egation unless and until the General Assembly enacts a new congressional
map.




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                          CLAIM FOR RELIEF
   40. The Elections Clause provides:

       The Times, Places and Manner of holding Elections for Senators
       and Representatives, shall be prescribed in each State by the Leg-
       islature thereof; but the Congress may at any time by Law make or
       alter such Regulations, except as to the Places of chusing Sena-
       tors.
U.S. Const. art. 1, § 4, cl. 1 (emphasis added).

   41. The Elections Clause forbids the defendants to implement a congres-

sional map that was drawn by the Supreme Court of Pennsylvania, because the

state supreme court is not part of “the Legislature,” and the General Assembly
has not delegated any of its map-drawing powers to the state judiciary or au-

thorized the state courts to involve themselves in the redistricting process in

any way.

   42. The Elections Clause also forbids the defendants to defy the require-

ments of 2 U.S.C. § 2a(c)(5), which requires Pennsylvania to hold at-large

elections if the General Assembly fails to enact a new congressional map in
time for the 2022 primary. See U.S. Const. art. 1, § 4, cl. 1 (allowing Congress

to “make or alter” regulations for electing representatives). The Supreme

Court of Pennsylvania is constitutionally forbidden to replace the fallback re-

gime that Congress has established in 2 U.S.C. § 2a(c)(5) with a court-drawn

map—and the state’s election officials are constitutionally obligated to imple-

ment 2 U.S.C. § 2a(c)(5) over any contrary command that might emanate from

the state judiciary.




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   43. The Court should enter declaratory and injunctive relief that requires

the defendants to hold at-large elections for the Pennsylvania congressional

delegation, unless and until the General Assembly enacts a new congressional

map.

   44. The plaintiffs bring these claims under 42 U.S.C. § 1983, the Declar-

atory Judgment Act, and any implied rights of action that might exist under

the Constitution of the United States or any election-related statute enacted

by Congress.

                         DEMAND FOR RELIEF
   45. The plaintiffs respectfully request that the court:

        a.     declare that the Elections Clause and 2 U.S.C. § 2a(c)(5) re-

               quire the defendants to hold at-large elections for the Pennsyl-

               vania congressional delegation, unless and until the General As-

               sembly enacts a new congressional map;

        b.     enter a preliminary and permanent injunction that compels the

               defendants to hold at-large elections for the Pennsylvania con-

               gressional delegation, unless and until the General Assembly

               enacts a new congressional map;

        c.     award the plaintiffs costs and attorneys’ fees under 42 U.S.C.

               § 1988;
        d.     grant all other relief that the Court may deem just, proper, or

               equitable.




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                                   Respectfully submitted.

                                    /s/ Jonathan F. Mitchell
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